Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

JOHN HENRY RAMIREZ,
Plaintiff,

VS. ‘

BRYAN COLLIER, Executive Director,
Texas Department of Criminal Justice,
Huntsville, Texas,

BOBBY LUMPKIN, Director, Texas Department
of Criminal Justice, Correctional Institutions
Division, Huntsville, Texas,

DENNIS CROWLEY, Warden, Texas Departmen
of Criminal Justice, Huntsville, Unit,
Huntsville, Texas,

Defendants.

ot

Civil Action No.
This is a Capital Case.

Mr. Ramirez is
scheduled to be
executed on —
September 8, 2021.

COMPLAINT PURSUANT TO 42 U.S.C. § 1983

Seth Kretzer

Law Office of Seth Kretzer
9119 South Gessner; Suite 105

Houston, Texas 77074

Tel. (713) 775-3050

seth@kretzerfirm.com

Counsel for John Henry Ramirez, Plaintiff
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 2 of 18

INTRODUCTION

1. Plaintiff John Henry Ramirez is a devout Christian. He is also incarcerated at
the Polunsky Unit of the Texas Department of Criminal Justice (@TDCY’)
under a sentence of death.

2. The State of Texas intends to execute Mr. Ramirez by lethal injection on
September 8, 2021, at the Walls Unit in Huntsville, Texas, under conditions
that violate the First Amendment’s Free Exercise Clause and substantially
burden the exercise of his religion in violation of the Religious Land Use and
Institutionalized Persons Act of 2000 (“RLUIPA”), 42 U.S.C. § 2000cc et

\ seq.

3. Through the requisite TDCJ administrative channels, Mr. Ramirez has
requested the presence of his spiritual advisor in the execution chamber
before and during his execution, and he has requested that his spiritual advisor
lay his hands upon him at the time of his death, a long-held and practiced
tradition in Christianity in general and in the Protestant belief system Mr.
Ramirez adheres to. Mr. Ramirez’s request was denied, and he has properly
exhausted all administrative remedies available to him under institutional

policy.
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 3 of 18

4, Relief is necessary to ensure that Mr. Ramirez is executed only in a manner
— that does not substantially burden the exercise of his religious beliefs and
does not violate his rights under the Free Exercise Clause or RLUIPA.
JURISDICTION
5. This Court has jurisdiction under 42 USC. §§ 2000ce-1, 28 U.S.C. §§ 1343,
1651, 2201, and 2202, and under 42 U.S.C. §1983.
VENUE
6. Venue lies in this Court under 28 U.S.C. § 1391 because Defendants maintain
offices in the Southern District of Texas. Venue is also proper because the
execution will occur in this district.
PARTIES
7. Plaintiff John Henry Ramirez is incarcerated under a sentence of death at the
Polunsky Unit of TCDJ in Livingston, Texas. He is scheduled to be executed
on September 8, 2021.
8. Defendant Bryan Collier is the Executive Director of TDCJ. He is being sued
in his official capacity.
9. Defendant Bobby Lumpkin is the director of the Correctional Institutions
Division of TDCJ. He is being sued in his official capacity. Mr. Lumpkin is

the individual the trial court ordered to carry out the execution.

Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 4 of 18

10.

11.

12.

13.

Defendant Dennis Crowley is the senior warden of the Huntsville Unit, which
is the unit where executions take place. He is being sued in his official
capacity. Because Mr. Crowley is the warden of the Huntsville Unit, he
supervises executions in Texas.

‘FACTUAL BACKGROUND
For approximately five years, since 2016, Pastor Dana Moore has ministered

to Plaintiff Ramirez. Pastor Moore is an ordained minister who leads a

congregation of roughly 200 people at Second Baptist in Corpus Christi,

Texas. Pastor Moore and Plaintiff Ramirez have corresponded and visited
over the years and Pastor Moore has guided Mr. Ramirez in his practice of his
religious faith. ‘

Until April 2019, and consistent with longstanding tradition nationwide,
TDCJ allowed TDCI -approved chaplains in the execution chamber to guide
persons being executed into the afterlife according to their religious beliefs.

Between 1982 and March 2019, Texas conducted 560 executions pursuant to

this policy.

‘In March 2019, TDCJ refused inmate Patrick Murphy’s request that his

Buddhist spiritual advisor accompany him in the chamber during the

scheduled execution. See Murphy y. Collier, 139 S. Ct. 1475 (2019) (mem.).

After TDCI refused Murphy’s request, Murphy filed a request for a stay of
Case 4:21-cv-02609 Document1 Filed on 08/10/21 in TXSD. Page 5 of 18

14.

15.

16.

execution in the Supreme Court and sought to challenge TDCJ’s decision on
equal protection and First Amendment grounds. See id.

On March 28, 2019, the Supreme Court granted a stay of execution and issued
an order prohibiting TDCJ from carrying out the execution “pending the
timely filing and disposition of a petition for a writ of certiorari unless the
State permits Murphy’s Buddhist spiritual advisor or another Buddhist
reverend of the State’s choosing to accompany Murphy in the execution
chamber during the execution.” Murphy, 139 S. Ct. at 147 5. Justice
Kavanaugh wrote a concurring opinion in which he expressed the view that
“the Constitution prohibits [the]denominational discrimination” of the then-
existing TDCI policy. Jd. at 1475-76. Justice Kavanaugh observed that a
potential remedy for this denominational discrimination would be to ban all
spiritual advisors of any denomination from the chamber. .

On April 2, 2019, TDCJ adopted another, revised execution procedure to
provide that “TDCJ Chaplains and Ministers/Spiritual Advisors designated by
the offender may observe the execution only from the witness rooms.” Ex. 1, __
Tex. Dep’t Crim. Just., Execution Procedure at 8 (Apr. 2019).

On April 21, 2021 TDCJ adopted a new protocol. Under this new protocol,

the condemned may be accompanied into the execution chamber by their

personal religious advisor, who may minister to the condemned prisoner

4
17.

18.

19.

Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 6 of 18

during the execution. TDCJ also requires that the advisors be verified and
pass a background check.

For the past five years, since approximately 2016, Plaintiff Ramirez has
received religious counseling and spiritual advice from his spiritual advisor,
Pastor Dana Moore. Mr. Ramirez has asked Pastor Moore to be present at the
time of his execution to pray with him and provide spiritual comfort and
guidance in the final moments of his life. Pastor Moore has agreed to
accompany Mr. Ramirez in the execution chamber when he is executed, to
pray with him and to help guide him into the afterlife. Pastor Moore needs to
lay his hands on Mr. Ramirez in accordance with his and Mr. Ramirez’s faith
tradition. This belief is set forth in the affidavit of Pastor Moore. Ex. 2,
Declaration of Pastor Dana Moore.

The laying on of hands is a symbolic act in which religious leaders place their
hands on a person in order to confer a spiritual blessing. This contact is
necessary to bless Mr. Ramirez at the moment of his death.

This practice has its basis in Christian scripture. The Apostle Philip’s
preaching in Samaria where a mass of people “listened eagerly . . . believed . .

. [and] were baptized” (Acts 8:11, 12) Yet these new converts did not “receive

the Holy Spirit” until after “Peter and John” came to Samaria from Jerusalem

and “laid their hands on them” (8:17). Similarly, when Paul later baptized a
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD_ Page 7 of 18

20.

21.

22.

group of Ephesian disciples, it was not until he “had laid his hands on them”
that “the Holy Spirit came upon them” (Paul 19:1-6).
Already, TDCI has in place specific protocols to take place prior to Pastor
Moore’s entry into the Walls Unit. Pastor Moore will undergo a rigorous
screening process including being screened by a metal detector and having
any items he carries with him screened by an x-ray. He will be required to
remove his shoes and belt for inspection. Pastor Moore also is willing to
undergo additional security screening, if necessary, in order to be present in
the execution chamber and to have physical contact necessary to confer a
blessing on Mr. Ramirez at the time of his death.

On June 8, 2021, undersigned counsel contacted Kristen Worman, general
counsel of TDCJ, through email. That email inquired about whether Ms.
Worman and TDCJ had made a decision regarding the presence of Plaintiff
Ramirez’s minister in the execution chamber and direct personal contact
between the condemned and the pastor. Ex. 3, E-mail correspondence with
Kristen Worman, General Counsel for TDCJ.

On June 17, 2021, Ms. Worman responded via e-mail, stating that Pastor
Moore would not be allowed to have direct, personal contact with Plaintiff

Ramirez in the execution chamber. See Ex. 3.
Case 4:21-cv-02609 Document1 Filed on 08/10/21 in TXSD Page 8 of 18

23. Plaintiff Ramirez submitted an Offender Form 1-60 “Offender Request to
Official” to TDCJ on or about July 15, 2020. In the grievance, he requested
that TDCJ allow Pastor Moore to be present in the execution chamber. He
further requested that Pastor Moore be allowed to have direct, personal
contact with him during the execution. See Ex. 4.:

\

24. Mr. Ramirez’s grievance was denied, and he filed an appeal of that denial.

The appeal has yet to be decided. See Ex. 4,
PROCEDURAL HISTORY

25. John Henry Ramirez was convicted and sentenced to death in 2008 for the
2004 killing of Pablo Castro in Nueces County, Texas. The Texas Court of
Criminal Appeals (“TCCA”) affirmed the conviction and death sentence on
direct appeal. Ramirez v. State, No. AP-76,100 (Tex. Crim. App., March 16,
201 1). In 2012, the TCCA denied state post-conviction relief, after

_ evidentiary hearing and upon the trial court’s report and recommendation. Ex

parte Ramirez, No. WR-72,735-03 (Tex. Crim. App., October 10, 2012). Mr.
Ramirez timely filed a petition for writ of habeas corpus in the federal district
court. The district court denied relief and a certificate of appealability.
Ramirez v. Stephens, No. 2-12-CV-410 (S.D. Tex., June 10, 2015).

26. Mr. Ramirez filed a timely notice of appeal to the United States Court of

Appeals for the Fifth Circuit. That court denied a request for certificate of
Case 4:21-cv-02609 Document1 Filed on 08/10/21 in TXSD Page 9 of 18

appealability on February 4, 2016. The Supreme Court denied a request for
certiorari review on October 3, 2016.

27. The State of Texas set. an execution date on February 2, 2017 . On January 27,
2017, Mr. Ramirez moved to substitute counsel and stay the execution date.
This Court granted Mr. Ramirez’s motion on January 31, 2017. On August
20, 2018, Mr. Ramirez filed a motion for relief from judgment in the United
States District Court. The Court denied this motion on January 3, 2019. Mr.
Ramirez appealed to the Fifth Circuit, which denied the request for a
certificate of appealability on June 26, 2019. The Supreme Court again denied
certiorari review, on March 2, 2020, and it denied rehearing on May 18, 2020.

28. The State of Texas set another execution date of September 9, 2020. On
August 14, 2020, Nueces County District Court Judge Bobby Galvan of the
94" Criminal District Court-withdrew the September execution date.

29. On February 3, 2021 the State moved to set a new execution date, and on
February 5, 2021, Judge Galvan signed an order setting an execution date for
Mr. Ramirez of September 8, 2021.

CLAIMS FOR RELIEF
30. Mr. Ramirez re-alleges and incorporates by reference and the allegations

contained in the previous paragraphs of this Complaint.
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 10 of 18

CLAIM ONE: FIRST AMENDMENT FREE EXERCISE OF RELIGION

31. The First Amendment requires that “Congress shall make no law...
prohibiting the free exercise of” religion. US. Const,, amend. I. Like the
Establishment Clause, the Free Exercise Clause is binding on the states. See
Cantwell v. Connecticut, 310 U.S. 296, 303 (1940) (holding that the
protections of the Free Exercise Clause are incorporated by the Fourteenth
Amendment against the States).

32. According to its April 2021 revised protocol, TDCI no longer precludes
TDCJ-approved spiritual advisors from entering the execution chamber.
Further, in spite of this protocol, which does not address whether or not the
spiritual advisor can have direct, personal contact with the condemned,
Defendants have informed Mr. Ramirez that his spiritual advisor will not be
allowed to be present at the moment of his execution and to confer a spiritual
blessing at the moment of his death via the laying on of hands. In fact, the
TDCI has not indicated it will accede to Mr. Ramirez’s request that his
requested spiritual advisor be allowed to be present at all in the execution
chamber.

33. Many-Baptist ministers see the laying on of hands as a vitally important
affirmation by God’s people of their calling. This laying on of hands at the

time of death is the affirmation of faith at the time between life and afterlife.
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 11 of 18

34. TDCI s intent to deny Mr. Ramirez access spiritual counseling during the

35.

36.

moménts leading up to and including his execution as well as the direct
personal contact violates his First Amendment rights under the Free Exercise
clause and cannot be justified by a vague citation to illusory security
concerns. Furthermore, TDCJ cannot demonstrate that its current security and
screening protocols are inadequate, or that it could not address security
concerns with further screening measures, to which Pastor Moore has
indicated he is willing to submit.

TDCI ’s current policy with regard to the presence of spiritual advisors in the
execution chamber burdens Mr. Ramirez’s free exercise of his Christian faith
in the moments just prior to and including his execution. It burdens his free
exercise of faith at his exact time of death, when most Christians believe they
will either ascend to heaven or descend to hell—in other words, when
religious instruction and practice is most needed. See, 2 Timothy 1:6, “For
this reason I remind you to kindle afresh the gift of God which is in you
through the laying on of my hands.” (2 Timothy 1:6). This is the most
important at the moment of his death.

When a state hinders a prisonér’s ability to freely exercise his religion,
reviewing courts must determine whether the law or policy is neutral and

generally applicable. Church of the Lukumi Balbao Aye, Inc. v. Hialeah, 508

7

10

Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 12 of 18

US. 520, 531 (1993). If it is neutral and generally applicable, it can have an
“incidental effect of burdening a particular religious practice.” Ibid. If it is not
neutral and generally applicable, it must show a “compelling governmental
interest” that is “narrowly tailored to advance that interest.” Ibid.

37. Here, TDCJ’s policy is not neutral. It is hostile toward religion, denying
religious exercise at the precise moment it is most needed: when someone is
transitioning from this life to the next. The policy is thus permissible only if it
can survive strict scrutiny, which it could not. Any argument that security
concems constitute a “compelling governmental interest” necessitating the
exclusion of Mr. Ramirez’s spiritual advisor from the execution chamber and
preventing him from touching the condemned withers when subjected to strict
serutiny, as the Constitution requires.

38. As a federal judge in this district recently noted, when making fact-findings
relevant to.a recent challenge to TDCJ’s previous execution policy excluding
all religious advisors from the execution chamber, “Speculative hypotheticals
without evidentiary support do not create an unmanageable security risk.”
Gutierrez v. Saenz, No. 1:19-cv-00185 (S.D. Tex. Nov. 24,2020), ECF Doc.
124 at *29.

- 39. For these reasons, TDCJ’s amended policy precluding Mr. Ramirez’s spiritual

advisor from being present at the moment of his execution and administering

11

Case 4:21-cv-02609 Document1 Filed on 08/10/21 in TXSD Page 13 of 18

a final blessing via the laying on of hands, in accordance with Mr. Ramirez’s
faith tradition, violates his rights under the First Amendment’s Free Exercise
Clause.

CLAIM TWO: THE RELIGIOUS LAND USE AND INSTITUTIONALIZED
PERSONS ACT (“RLUIPA”)

40. Mr. Ramirez incorporates paragraphs 1-39, above.

4 1. Even if this Court finds that TDCJ’s policy does not violate Plaintiff
Ramirez’s First Amendment rights, it should find that the policy violates
RLUIPA. RLUIPA provides in part, “No government shall impose a
substantial burden on the religious exercise of a person residing in or confined
to an institution,” unless the burden furthers “a compelling governmental
interest,” and does so by “the least restrictive means.” RLUIPA “alleviates
exceptional government-created burdens on private religious exercise.” Cutter
v. Wilkinson, 544 U.S. 709, 720 (2005). .

42. Specifically, RLUIPA states:

No government shall impose a substantial burden on the religious
exercise of a person residing in or confined to an institution, as
defined in section 1997 of this title, even if the burden results from a
rule of general applicability, unless the government demonstrates that
imposition of the burden on the person-(1) is in furtherance of a
compelling governmental interest; and (2) is the least restrictive
means of furthering that compelling interest.41 U.S.C. 2000cc-
1(a)RLUIPA thus "alleviates exceptional government-created burdens
on private religious exercise," without "elevat[ing] accommodation of
religious observarices over an institution's need to maintain order and
safety.

12
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 14 of 18

43.

44.

45.

Cutter, 544 U.S. at 720.
“In RLUIPA, in an obvious effort to effect a complete separation from the
First Amendment case law, Congress deleted reference to the First
Amendment and defined the “exercise of religion’ to include ‘any exercise of
religion, whether or not compelled by, or central to, a system of religious
belief.’” Burwell v. Hobby Lobby Stores, 573 U.S. 682, 696 (quoting 42
U.S.C. § 2000cc-5(7)(A)). RLUIPA thus provides more “expansive
protection” for religious liberty than the United States Supreme Court case
law. Holt v. Hobbs, 574 U.S. 352, 358 (2015).
Prohibiting Mr. Ramirez from engaging in vitally important religious -
practices with a chaplain at the end of his life and including the moment of his
death substantially burdens his practice of religion. See, e. g. id, 135 S. Ct. at
862 (2015) (determining that where a prisoner shows the exercise of religion
“erounded in a sincerely held religious belief enforced prohibition
“substantially burdens his religious exercise”). ~
Under RLUIPA, a prison may not impose a substantial burden on a prisoner’s
religious exercise unless doing 50 satisfies the Supreme Court’s “strict

scrutiny” test; the challenged policy must be “the least restrictive means of

- furthering [a] compelling governmental interest.” 42 U.S.C. §2000cc-1(a). -

13
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 15 of 18

46. The strict scrutiny standard is “exceptionally demanding.” Holt, 574 U.S. 352,

353, quoting Burwell v. Hobby Lobby Stores, Inc., 573 U.S. at 728.

47. Defendants have not employed the least restrictive means to further a

compelling interest. Defendants have the burden to prove this defense. See,
Holt, 574 U.S. at 357, 362. .

48. As a federal judge in this district recently noted, when making fact-findings
relevant to a recent challenge to TDCJ’s execution policy excluding all
religious advisors from the execution chamber, “Speculative hypotheticals
without evidentiary support do not create an unmanageable security risk.”
Gutierrez v. Saenz, supra, ECF Doc. 124 at *29.

49. TDCIJ’s amended policy places a substantial burden on Mr. Ramirez’s
practice of a sincerely-held religious belief in the “spiritually charged final
moments of life,” leading up to and including his execution, when religious
observance and spiritual guidance are most critical. No compelling security

interest justifies the burden on his religious exercise.

50. Accordingly, if the Court concludes that TDCJ’s revised policy does not
violate the First Amendment, it should decide that the policy violates

RLUIPA.

14
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 16 of 18

PRAYER FOR RELIEF

WHEREF ORE, Plaintiff John Henry Ramirez prays that this Court provide
relief as follows:

1. A declaratory judgment that TDCJ’s amended policy violates Mr.
Ramirez’s First Amendment rights under the Free Exercise Clause;

2. Adeclaratory judgment that TDCJ’s amended policy violates Mr.
Ramirez’s rights under RLUIPA; and

3. | Apreliminary and permanent injunction prohibiting Defendants from
executing Mr. Ramirez until they can do so in a way that does not violate his

rights.

Respectfully submitted,

/s/ Seth Kretzer

Seth Kretzer

Law Office of Seth Kretzer
9119 South Gessner; Suite 105
Houston, Texas 77074

Tel. (713) 775-3050
seth@kretzerfirm.com

15
Case 4:21-cv-02609 Document1 Filed on 08/10/21 in TXSD Page 17 of 18

VERIFICATION
I, Seth Kretzer, attorney for the Plaintiff in the above-titled action, state that
to the best of my knowledge and belief, the facts set forth in this Complaint are
true.

Executed on August 10, 2021.

/s/ Seth Kretzer
Seth Kretzer

16
Case 4:21-cv-02609 Document 1 Filed on 08/10/21 in TXSD Page 18 of 18

CERTIFICATE OF SERVICE

I certify that I served a true and correct copy of the above pleading to the
following on August 10, 2021.

Jennifer Morris

Assistant Texas Attorney General
Austin, Texas

17
